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lN THE UN|TED STATES DISTRlCT COURT
SOUTHERN DlSTR|CT OF OH|O
EASTERN DlVlSlON

Deange|a Smith

P|aintiff : Case No. 2:16 CV 807
vs. : Judge |V|arb|ey
Generations HealthCare Services, LLC : Magistrate Vascura
Defendant

 

DEFENDANTS’ MOT|ON TO DECERT|FY
COND|T|ONAL CLASS CERT|F|CAT|ON AND FOR DlSMlSSAL
OF OPT-|N PLA|NT|FFS, JESSICA CL|MER and CHARLES HOLL|NS

 

Now comes the Defendant, Generations Hea|thcare Ser\ricesl LLC, hereinafter
"Generations Hea|thcare”, by and through counse|, and hereby moves this Honorab|e
Court for an Order decertifying the conditional class certification issued by this Court,
and/or in the alternative, for an Order dismissing with prejudice the Opt-|n Plaintiffs,
Jessica Climer and Charles Ho||ins for failure to prosecute their claims and to participate in
discovery. As set out more fully in the attached Nlemorandum in Supportl Defendant
states that P|aintiff has failed to present any good legal and/or factual basis forthis Court to

continue the conditional class certification

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i. introduction

On December 15, 2016, Plaintiff filed a motion requesting that her action be
conditionally certified as a collective action under Section 216(b) of the Fair Labor
Standards Act (“FLSA”) ("Niotion to Certify"). On January 4, 2017, Defendants filed their
Memorandum in Opposition to Niotion for Conditiona| C|ass Certification. After hearing on
this matter, the Court granted the conditional class certification and issued a deadline of
November 6, 2017 in which any potential plaintiffs could opt into the conditionally certified
class.

Priorto expiration cf the November 6, 2017 deadline, only two (2) individuals had
filed the required affidavits with the Court to indicate their desire to be part of the
conditionally certified class To date, no other individuals have filed the required afHdavits,
and therefore, even assuming arguendo that the allegations set forth in Piaintiff’s iviotion
for Conditiona| C|ass Certification have meritl which Defendants expressly deny1 three (3)
individuals are insufficient for Plaintiff to maintain a class action matter against Defendant,

i.e. three (3) individuals do not meet the "joinder would be inappropriate” rationale for

maintaining class actions

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As suchl and due to insufficient potential plaintiffs, Defendant respectfully requests
that this Court issue an order decertifying the conditional classl and/or in the alternativel
issue an Order dismissing the Opt-in P|aintiffsl Jessica C|imer and Char|es Ho||ins due to
their failure to prosecute their claims and to present themselves for depositions

ii. Law and Argument

A. A Three (3) Person C|ass Does Not Satisfy The Justifications For C|ass
Certification. And Thus. The Conditiona| C|ass Shou|d Be Decertified

in the instant matter, only two (2) individuals have opted into the class alleging that
they are similarly situated to P|aintiff. Even assuming arguendo that the three (3)
individuals are similarly situatedl which Defendants deny, there is no good basis to subject
Defendants to the burdens of a collective action involving only three (3) individuals

The Ohio Supreme Court has held in Ru|e 23 class action matters that if the class
has less than twenty-five peop|e, numerosity is probably lacking A similar ruling should be
reached in the instant FLSA matter involving one plaintiff and two (2) opt-in plaintiffs who
have failed to prosecute their claims after filing the required documentation to be a part of
the alleged ciass. See Ao'ki'ns-Bagola v. Uni`versal Nursing Service, 2004 WL 2600456,
2004-Ohio-6082, citing Wamer v. Waste Management, 36 Ohio St.3 91, 521 N.E.2d 1091,
quoting Mi||er, An Overview of Federal C|ass Actions: Past, Present and Future (2
Ed.1977) 22. The Adkins-Bagola case involved ten (10) potential class members which the
trial court originally certified as a ciass. On appeall the Court of Appea|s reversed the class

certification holding:

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A court may properly certify a class only if it finds, by a preponderance of the

evidence, that the class meets the Civil Ru|e 23(A) requirements which

include finding that the ciass is so numerous that joinder is

impracticable See Hami`lton, 82 Ohio St.3d at 70, 694 N.E.2d 442, Warner,

36 Ohio St.3d 91, 521 N.E.2d 1091. in this case, one of the prerequisites of

Civil Ru|e 23(A) was not met; Appefiee has not established the

numerosity requirement by a preponderance of the evidence.

Therefore, the class is not properly certifiabie. See, Adkins-Bagoia,

supra. (Emphasis added.)

|f a class consisting often (10) potential members was found to be uncertitiable as a
class action, it goes without saying that a class nearly one third that size (three (3)
members) is not certifiab|e. Thus, it is clear that P|aintiff has not met the numerocity
requirement as set forth in Federal Ru|e of Civil Procedure 23(A), and a similar finding
should be reached in the instant FLSA matter involving only one (1) active plaintiff and two
(2) inactive plaintiffs who are not cooperating with counsel or discovery.

Other courts have also weighed in with regard to the numerosity requirement in Ru|e
23 class action matters and found that small classes should not be certified as class
actions See, Wamer v. Waste Management, 36 Ohio St.3 91, 521 N.E.2d 1091 (forthe
numerosity requirement to be metl the class must be so numerous that joinder of all
members is impracticable); Council of and for the Blind ofDelaware County t/alfey, inc. v.
Regan, 709 F.2d 1521, 1529 (D.C.Cir.1983) (the numerosity requirement is also satisfied
more easily upon a showing that there is wide "geographical diversity of class members,"
which makes joinder of all the class members more impracticab|e); Garcia v. Gi'oorl 618
F.2d 264 (On|y thirty-one persons, those G|oor employees who were i-lispanic, were
affected by the Eng|ish-only ru|e. Their identity and addresses were readily ascertainab|e,

and they ali lived in a compact geographical area. The suggested class therefore failed to

meet the elementary requirement that supports the whole theory of class actions

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representation by one person cfa group so numerous that joinder in one suit would be
impracticabie).
Based on the foregoing, Defendant’s |Vlotion to Decertify the Conditiona| C|ass
Certification is well founded. lt is, therefore, requested that Defendant’s |V|otion be granted.
B. The Opt-ln P|aintiffs’ Fai|ure To Cooperate With Discovery, To Present
Themse|ves For Depositions And To Otheiwise Faii To Prosecute Their
A||eged C|aims Should Result |n Dismissa| Of Their C|aims And
Deceitification Of The Conditional Class
By order of this Court on September 17, 201'/'l the parties were to engage in and
complete discovery on or before February 6, 2018. As a result of P|aintiffs‘ failure to
comply with said order, Defendants have been deprived of the opportunity to conduct
discovery with respect to the Opt-in P|aintiffs. Defendants filed their Notices of Depositions
for the Opt-|n P|aintiffs, Jessica C|imer and Charles Ho||ins on January 26, 2018 and
provided P|aintiffs’ counsel with copies of said Notices. On January 29, 2018, Plaintiffs'
counsel indicated that he was experiencing difficulties contacting the Opt-in Plaintiffs and
requested an extension often (10) days in which to reschedule the depositions Counsel
for Defendants agreed with the extension provided a new date for the depositions be
agreed upon within the ten (10) day extension period. On January 31l 2018, P|aintiffs’
counsel again contacted Defendants’ counsel advising of continued difficulties in
contacting his clients Fina||y, on February 2, 2018, Defendants’ counsel contacted
P|aintiffs' counsel again requesting deposition dates for the Opt-in Plaintiffs and offering
available dates for said depositions P|aintiffs’ counsel replied that he had been in contact

with one of the Opt-|n P|aintiffs who suggested a deposition date of February 12, 2018.

That date was unavailable and the other Opt-|n P|aintiff still had not made contact with

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P|aintiffs’ counse|.

On March 2, 2018, counsel for P|aintiffs indicated to counsel for Defendants that he
had again lost contact with both Opt-ln P|aintiffs and that he did not "expect to be able to
set their depositions”. To date, rio depositions of the Opt-|n P|aintiffs have been conducted
due to theirfai|ure andlor refusal to cooperate with their attorney. As a result of the Opt-in
P|aintiffs' failure to present themselves for depositions and failure to prosecute their claims
Defendants have not been able to properly prepare their case for trial cr potential
settlement

Based on the foregoingl Defendants respectfully request that this Court dismiss the
Opt-|n P|aintiffs forfai|ure to prosecute their claims See qurdan v. Jabe, 951 F.2d 108
(6th Cir. 1991), where it was he|d, and Munay v. Targei‘ Depan‘ment Stores, 2003WL
356171, 56 Fed.Appx. 246, where it was reiterated that "the district Court may dismiss a
case if one cf the parties fails to comply with an order to provide or permit discovery and
that party has shown a pattern of delay or contumacious conduct". |n addition, trial courts
within the Sixth Circuit have agreed that an opt-in plaintist failure to respond to his counsel
constitutes willful conduct weighing in favor of dismissa|. See also, Oakes v. J.F. Bernard,
lnc. No. 5:11-CV-1006, 2012 WL 3552651 at *2 (N.D. Ohio, August ‘|, 2012) (dismissing
opt-in plaintiff pursuant to Ruie 41(b) with prejudice for failure to provide discovery,
reasoning that the opt-in plaintiff "is at fault, at a minimum, for failing to maintain contact
with his attorney so that he could stay informed regarding his case”); Williams v. l_e
Chaperon Rouge, No. 1:07-cv-829, 2008 WL 2074039, at *1-2 (N,D. Ohio May 14, 2008)
(dismissing opt-in plaintiff pursuant to Ruie 41(b) with prejudice for failure to provide

discovery, characterizing the opt-in piaintifis' failure to respond to discovery as “wi||fu|”

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where they failed to respond to several letters and calls from their attorneys); and Moraies
v. Farmland Foods, lnc., No. 8:08-cv-504, 2011 WL 7077232, at *5 (D. Neb. Dec. 15,
2011) (co||ecting cases in which courts have dismissed opt-in plaintiffs with prejudice in
FLSA cases where the opt-in plaintiffs failed to respond to discovery in violation of a court
order, reasoning "[t]here is nothing in the nature of collective actions or in the spirit of the
FLSA that would allow plaintiffs to flout their individual discovery obligations When the
refusal comes following notice and a court order, absent some extraordinary
circumstances it can be described as nothing other than willful or intentiona|”.

Based upon the foregoing, there is ample precedent for this Court to dismiss the
Opt-ln P|aintiffsl for failure to maintain contact with their attorney and failure to comply with
the Court’s scheduling order with regard to discovery and depositions Thus, Defendants
respectfully request that this Court dismiss the Opt-in P|aintiffs’ for failure to present
themselves for depositions and/or to otherwise prosecute their claims Defendants further
request, as a result of the Opt-|n P|aintiffs’ failure to prosecute their claims, that this fact
along with the fact that there remains but one (1) active plaintiff in this matter, be included
among the reasons for granting the instant Motion to Decertify.

ill. Conciusion

|n conclusion, as no good or legal basis has been demonstrated to continue the
conditional certification in this matter, and due to the Opt-|n P|aintiffs Jessica C|imer and
Charies Ho||ins, failure to cooperate in discovery, it is respectfully requested that this
Honorab|e Court decertify the conditional classl and/or in the alternative, dismiss with
prejudice the Opt-|n Plaintiffs, Jessica Climer and Charies Hoilins as a result of their failure

to present themselves for deposition and failure to otherwise prosecute their claims

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CERT|F|CATE OF SERV|CE

The undersigned hereby certifies that a true and correct copy of the foregoing
Niotion to Deceitify Conditional C|ass Certification and Dismissa| of Opt-in P|aintiffs,
Jessica C|imer and Charies Ho||ins was filed electronically on this 13th day of March, 2018.
Notice of this filing will be sent to all parties by operation of the Court’s electronic filing
system. Parties may access this filing through the Court’s system.

is/ Rennv J. Tyson

 

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